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UNITED STATES DlSTRlCT COURT
EASTERN DISTRICT OF VIRGINIA

 

lntersections, lno., et al.
Plaintiff,
v.
Joseph C. Loomis, et al.,

Defendant.

Case No. l:09cv597 (LMB/TCB)

 

 

 

N()TICE OF HEARING

PLEASE TAKE NOTICE that on Friday, April 15, 2011, at 10:00 a.rn., or as soon
thereafter as counsel may be heard, Defendant Joseph C. Loomis, by oounsel, Will move this
Honorable Court for hearing on Defendant’s Objections to l\/lagistrate Juclge’s Order Denying

Defendant’s l\/lotion to Vacate Protective Order, previously filed With the Court.

Respectfully submitted,

/s/

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CERTIFICATE ()F SERVICE

I hereby certify that on this lSt day of April, 2011, l have filed a true and correct copy of the
foregoing With the Clerl< of Court via the Cl\/l/ECF efiling system Which Will send notification of

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this filing to the following counsel of record:

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